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                    IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                     )
                                              )
                    Plaintiff,                )                8:23CR158
                                              )
      vs.                                     )
                                              )
AMARRO T. LOERA,                              )                  ORDER
                                              )
                    Defendant.                )


      This matter is before the court on the Unopposed Motion to Continue Trial [21].
Counsel needs additional time to resolve this matter short of trial. The undersigned finds
good cause to grant a continuance. Accordingly,

       IT IS ORDERED that the Unopposed Motion to Continue Trial [21] is granted, as
follows:

      1. The jury trial now set for October 3, 2023, is continued to December 19,
         2023.

      2. In accordance with 18 U.S.C. § 3161(h)(7)(A), the court finds that the ends of
         justice will be served by granting this continuance and outweigh the interests
         of the public and the defendant in a speedy trial. Any additional time arising
         as a result of the granting of this motion, that is, the time between today’s
         date and December 19, 2023, shall be deemed excludable time in any
         computation of time under the requirement of the Speedy Trial Act. Failure to
         grant a continuance would deny counsel the reasonable time necessary for
         effective preparation, taking into account the exercise of due diligence. 18
         U.S.C. § 3161(h)(7)(A) & (B)(iv).


            DATED: September 25, 2023

                                            BY THE COURT:



                                            s/ Susan M. Bazis
                                            United States Magistrate Judge
